Jodi Arndt Labs

From: Jodi Arndt Labs

Sent: Saturday, July 15, 2017 1:08 PM

To: ‘James A. Walcheske'

Cec: George Burnett

Subject: RE: Conference call with Schenck ~- Tim Fast/Cash Depot

11:00 a.m. on Thursday July 20" works on our end. I need to confirm what location Amy Bradley will be at on
Thursday. Once I confirm that, | will send out a meeting invite with call-in information. Thanks.

JOD! ARNDT LABS

Attorney

Law Firm of Conway, Olejniczak & Jerry, S.C.
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From: James A. Walcheske [mailto:jwalcheske @walcheskeluzi.com]
Sent: Friday, July 14, 2017 6:32 PM

To: Jodi Arndt Labs <jodi@Icojlaw.com>

Cc: George Burnett <GB@Icojlaw.com>

Subject: RE: Conference call with Schenck - Tim Fast/Cash Depot

If everyone can do 11, that works.
On Jul 14, 2017 3:57 PM, "Jodi Arndt Labs" <jodi@lcojlaw.com> wrote:

Amy Bradley at Schenck is only available the morning of July 20", before 9:00 a.m. or after 10:00 a.m. Let me
know if that works on your end. Thanks.

JOD! ARNDT LABS
Attorney
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From: James A. Walcheske [mailto:jwalcheske@walcheskeluzi.com]
Sent: Friday, July 14, 2017 3:15 PM

To: Jodi Arndt Labs <jodi@Icojlaw.com>

Cc: George Burnett <GB@Icojlaw.com>

Subject: Re: Conference call with Schenck - Tim Fast/Cash Depot

Is it possible to do Thursday instead? My day's filled in a bit and I've got a 7th Circuit brief due that day, so if
possible, I'd prefer it not be Wednesday. If, however, that's the only date that works, I'll see what I can do.

On Jul 14, 2017 10:54 AM, "Jodi Arndt Labs" <jodi@Icojlaw.com> wrote:

Good Morning Jim,

I apologize for the delay in getting back to you concerning a time to discuss the wage calculations with
Schenck. I have confirmed with Schenck that they would be available for a call next Wednesday, July

19". Based on my calendar, we could do a call between 9:00 a.m. and 3:00 p.m. Please let me know whether
that date still works for you and, if so, what time you would like to have the call. We will then get you a call-
in number.

Thank you.

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JODI ARNDT LABS

_ Attorney

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